                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:20-cv-361-GCM

JOHN ALAN FAGAN, JR.,               )
                                    )
                   Plaintiff,       )
                                    )
vs.                                 )                         ORDER
                                    )
ANDREW SAUL,                        )
Commissioner of Social Security,    )
                                    )
                   Defendant.       )
____________________________________)


       THIS MATTER is before the Court on its July 16, 2020 Order.

       In this matter, pro se Plaintiff is seeking review of an adverse final determination of the

Social Security Commission. (Doc. No. 1). Plaintiff has filed an Application to proceed in

forma pauperis. (Doc. No. 2).

       The Court noted in its July 16, 2020 Order that it appears that venue does not lie in this

District because Plaintiff resides in Rowan County, which is located in the Middle District of

North Carolina. (Doc. No. 3). The Court informed Plaintiff of its intent to transfer this action for

lack of venue, granted him 14 days to object, and cautioned him that the failure to do so would

result in this action being transferred to the United States District Court for the Middle District of

North Carolina without further notice.

       The 14-day limit has expired and Plaintiff has failed to object. Therefore, this action will

be transferred for lack of venue.

       IT IS, THEREFORE, ORDERED that the Clerk of this Court is hereby ordered to

transfer this action to the United States District Court for the Middle District of North Carolina.

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                         Signed: August 3, 2020




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